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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:11cr166
                                                  §            (Judge Crone)
 MARSALIA LARAY SMITH (11)                        §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

          This matter having been referred by the Honorable Marcia Crone, the Court held a hearing

 on January 11, 2013, on Defendant’s pro se Motion to Withdraw Plea Agreement (Dkt. #447). In

 his one-page motion, Defendant seeks to withdraw his guilty plea, which was accepted by the

 District Judge on July 20, 2012 (Dkt. #318).

                                          BACKGROUND

          On August 11, 2011, Defendant was indicted in a one-count indictment. Count one charged

 Defendant with conpisracy to possess with intent to distribute cocaine base in violation of 21 U.S.C.

 § 846.

          On July 16, 2012, Defendant appeared for a change of plea hearing before United States

 Magistrate Judge Amos Mazzant. Defendant pleaded guilty to count one of the indictment. On July

 16, 2012, the undersigned entered his Findings of Fact and Recommendation on Guilty Plea. On

 July 20, 2012, United States District Judge Marcia Crone adopted the report, finding Defendant

 guilty of count one of the indictment.

          On December 4, 2012, Defendant filed a pro se motion to replace counsel as well as a pro

 se motion to withdraw plea agreement (Dkt. #446, #447). After conducting a hearing, the Court

 permitted Defendant to represent himself and appointed standby counsel. On January 11, 2013, the
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 Government filed its response to the motion to withdraw (Dkt. #466). The Court also conducted a

 hearing on the motion on January 11, 2013.

                .                             ANALYSIS
                                          Standard of Review

        According to Rule 11(d)(2)(B) of the Federal Rules of Criminal Procedure, a district court

 may grant a motion to withdraw a guilty plea before sentencing if the defendant shows “a fair and

 just reason.” Fed. R. Crim. P. 11(d)(2)(B). There is no absolute right to withdraw a guilty plea, and

 the Defendant bears the burden of establishing a fair and just reason for withdrawing his plea.

 United States v. Puckett, 505 F.3d 377, 382 (5th Cir. 2007)(citation omitted);United States v.

 Lampazianie, 251 F.3d 519, 523-24 (5th Cir. 2001). In deciding whether to permit a defendant to

 withdraw a guilty plea, the Court is granted “broad discretion.” United States v. Carr, 740 F.2d 339,

 344 (5th Cir. 1984)(citation omitted).

        To determine whether a defendant may withdraw a plea of guilty prior to sentencing, this

 Court must look at the following factors: (1) whether the Defendant has asserted his innocence; (2)

 whether the government would suffer prejudice if the withdrawal of the motion were granted; (3)

 whether the Defendant has delayed in filing his withdrawal motion; (4) whether the withdrawal

 would substantially inconvenience the Court; (5) whether close assistance of counsel was available;

 (6) whether the original plea was knowing and voluntary; and (7) whether the withdrawal would

 waste judicial resources. Carr, 740 F.2d at 343-344. The Court is not required to make a finding

 as to each individual factor. United States v. Powell, 354 F.3d 362, 370 (5th Cir. 2003). The Carr

 factors are considered for the totality of the circumstances and no single factor is dispositive.

 Lampazianie, 251 F.3d at 524; Powell, 354 F.3d at 370.



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                                               Discussion

         In his motion, Defendant provides no reason for his desire to withdraw his plea. At his

 hearing, the Court questioned him regarding why he would like to withdraw his plea. Defendant

 answered that he did not have a reason other than he wanted to withdraw and take his chances at trial

 and that he does not now accept his agreed-upon sentence of 180 months. Defendant essentially has

 “buyer’s remorse.” Defendant did state that he understood everything at his plea hearing and was

 telling the truth.

 Defendant’s Assertion of Innocence

         At the hearing, Defendant did not assert his innocence as to count one of the indictment.

         In his plea colloquy with the Court on July 16, 2012, Defendant agreed to the statement of

 facts and that he was pleading guilty to the facts that he participated in a conspiracy to distribute 280

 grams or more of cocaine base. Defendant also stated that he understood the range of punishment.

 Defendant also signed a plea agreement that contained his agreement to plead guilty to a violation

 of 21 U.S.C. § 846. His failure to claim his innocence strongly favors denying his motion to

 withdraw.

 Delay in Filing Withdrawal Motion

         In Carr, the Fifth Circuit found a delay of twenty-two days before filing a motion for

 withdrawal of a guilty plea to weigh against allowing the defendant to withdraw his plea. Carr, 740

 F.2d at 345. “The rationale for allowing a defendant to withdraw a guilty plea is to permit him to

 undo a plea that was unknowingly made at the time it was entered. The purpose is not to allow a

 defendant to make a tactical decision to enter a plea, wait several weeks, and then obtain a

 withdrawal if he believes that he made a bad choice in pleading guilty.” Id.


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          On July 16, 2012, defendant pleaded guilty. On December 4, 2012, Defendant filed his

 motion to withdraw his plea. The Court finds that Defendant was not prompt. Defendant’s delay

 demonstrates a tactical decision and Defendant’s belief that he made a bad decision in pleading

 guilty. The Court examines the delay from the time defendant’s plea of guilty was entered to the

 time of the filing of the motion for withdrawal. Therefore, the Court finds that Defendant’s delay

 strongly favors denying the motion.

 Assistance of Counsel

          In order for a defendant’s guilty plea to be valid, “the defendant must have available the

 advice of competent counsel. The advice of competent counsel exists as a safeguard to ensure that

 pleas are voluntarily and intelligently made.” Matthew v. Johnson, 201 F.3d 353, 365 (5th Cir.

 2000).

          In a recent case, the Fifth Circuit determined that close assistance of counsel under Rule

 11(d)(2)(B) and “constitutionally ineffective assistance of counsel are distinct issues.” United States

 v. McKnight, 2009 WL 1565669 *3 (5th Cir. June 5, 2009). Ineffective assistance is a basis for

 invalidating a conviction under the Sixth Amendment and not relevant to the decision of whether

 defendant was denied close assistance of counsel. Id.

          The question of whether defendant received the close assistance of counsel “requires a fact-

 intensive inquiry.” Id. at *4. Defendant entered into a plea agreement with the Government. The

 plea agreement was signed by defendant and his counsel. Paragraph twelve of the plea agreement

 states that Defendant reviewed all legal and factual aspects of the case and that Defendant was fully

 satisfied with his counsel’s legal representation. Defendant also represented, in signing the written

 consent form to proceed before the undersigned, that he was satisfied with the representation


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 provided to him. Defendant was also asked during his plea colloquy whether he was satisfied with

 the representation provided by his counsel and he answered that he was. The Court finds that

 Defendant was not without assistance of adequate counsel in agreeing to plead guilty.

 Knowing and Voluntary Plea

         “For a plea to be knowing and voluntary, ‘the defendant must be advised of and understand

 the consequences of the [guilty] plea.’” United States v. Gaitan, 954 F.2d 1005, 1011 (5th Cir.

 1992)(quoting United States v. Pearson, 910 F.2d 221, 223 (5th Cir. 1990)). Defendant must have

 notice of the nature of the charges against him, he must understand the consequences of his plea, and

 he must understand the nature of the constitutional protections he is waiving. Matthew, 201 F.3d

 at 365. For a guilty plea to be voluntary, it must “not be the product of ‘actual or threatened physical

 harm, or ... mental coercion overbearing the will of the defendant’ or of state-induced emotions so

 intense that the defendant was rendered unable to weigh rationally his options with the help of

 counsel.” Id. (quoting Brady v. United States, 397 U.S. 742, 750 (1970)).

         In this case, the Court informed the Defendant of the nature and consequences of his guilty

 plea. The Court informed Defendant of the rights he gave up when pleading guilty, the potential

 sentence he faced for pleading guilty, including imprisonment of 180 months if his Rule 11(c)(1)(C)

 was accepted, and the specific elements of the crime. Defendant stated that he understood the

 penalties he could receive, that he understood the elements of the offense, and that he understood

 his constitutional rights. The Court also reviewed the plea agreement.

         Defendant represented that his plea was freely and voluntarily made and that no one forced

 him, threatened him, or made any promises other than what was contained in the plea agreement.

 Counsel indicated that Defendant was competent and able to cooperate with him and understood the


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 plea agreement. The Court had the government go over, in detail, the statement of facts in support

 of the plea agreement. Defendant acknowledged that the facts were true and correct and that he was

 pleading guilty to the facts as recited. After acknowledging the facts supporting his plea, defendant

 entered a plea of guilty to count one of the indictment. Having been advised as to the details and

 consequences of his plea, having repeatedly stated that he understood the proceedings, and having

 repeatedly acknowledged his guilt, defendant’s assertion that his plea was anything other than

 knowing and voluntary is contradicted by the record. See United States v. Cothran, 302 F.3d 279,

 283-84 (5th Cir. 2002)(reviewing courts give great weight to the defendant’s statement at the plea

 colloquy).

 Remaining Factors

        The remaining factors for the Court to consider are as follows: (1) whether withdrawal would

 cause the government to suffer prejudice if the motion were granted; (2) whether withdrawal would

 substantially inconvenience the Court; and (3) whether withdrawal would waste judicial resources.

        A withdrawal at this point would inconvenience the Court and cause a waste of judicial

 resources as well as cause prejudice to the Government.

        After considering the evidence presented, the arguments of counsel, and reviewing the record,

 the Court finds that most of the Carr factors do not weigh in Defendant’s favor. Defendant

 presented no evidence that convinces the Court that Defendant should be allowed to withdraw his

 plea of guilty. Given the totality of the circumstances, the Court finds that Defendant has failed to

 demonstrate a fair and just reason to withdraw his plea of guilty.




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                                          RECOMMENDATION

            The Court recommends that Defendant’s Motion to Withdraw Plea Agreement (Dkt. #447)

     be DENIED.

            Within fourteen (14) days after service of the magistrate judge's report, any party may serve

     and file written objections to the findings and recommendations of the magistrate judge. 28 U.S.C.

     § 636(b)(1)(c).

            Failure to file written objections to the proposed findings and recommendations contained

     in this report within fourteen days after service shall bar an aggrieved party from de novo review by

.    the district court of the proposed findings and recommendations and from appellate review of factual

     findings accepted or adopted by the district court except on grounds of plain error or manifest

     injustice. Thomas v. Arn, 474 U.S. 140, 148 (1985); Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th

     Cir. 1988).
           SIGNED this 15th day of January, 2013.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE




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